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                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT
                                OFFICE OF THE CLERK
                                Byron White United States Courthouse
                                         1823 Stout Street
                                      Denver, Colorado 80257
                                          (303) 844-3157
  Christopher M. Wolpert                                                        Jane K. Castro
  Clerk of Court                         July 27, 2020                      Chief Deputy Clerk




  Mr. Nathan Chambers
  Law Office of Nathan Chambers
  303 16th Street, Suite 200
  Denver, CO 80202

  RE:       20-1268, United States v. McClaflin
            Dist/Ag docket: 1:17-CR-00168-CMA-1

 Dear Counsel:

 The court has received and docketed your appeal. Please note your case number above.
 Copies of the Tenth Circuit Rules, effective January 1, 2020, and the Federal Rules of
 Appellate Procedure, effective December 1, 2019, may be obtained by contacting this
 office or by visiting our website at http://www.ca10.uscourts.gov. In addition, please note
 all counsel are required to file pleadings via the court's Electronic Case Filing (ECF)
 system. See 10th Cir. R. 25.3. You will find information regarding registering for and
 using ECF on the court's website. We invite you to contact us with any questions you
 may have about our operating procedures. Please note that all court forms are now
 available on the court's web site.

 Attorneys must complete and file an entry of appearance form within 14 days of the date
 of this letter. See 10th Cir. R. 46.1(A). Pro se parties must complete and file the form
 within thirty days of the date of this letter. An attorney who fails to enter an appearance
 within that time frame will be removed from the service list for this case, and there may
 be other ramifications under the rules. If an appellee does not wish to participate in the
 appeal, a notice of non-participation should be filed via ECF as soon as possible. The
 notice should also indicate whether counsel wishes to continue receiving notice or service
 of orders issued in the case.

 Although attorneys who file a notice of appeal have technically entered an appearance,
 and may not withdraw without the court's permission, counsel must still file a separate
 entry of appearance form. For criminal appeals, please note the court will require trial
 counsel to continue the representation whether retained or appointed, until an order issues
 allowing withdrawal. This is the case even if you did not sign the notice of appeal. See
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 10th Cir. R. 46.3(A). This initial continuity of counsel ensures that any criminal
 defendant who wishes to appeal has that appeal perfected.

 Generally, the court will not allow counsel to withdraw until an entry of appearance form
 and the docketing statement are filed. See 10th Cir. R. 46.3(A). If there is an issue
 regarding the defendant's eligibility for the appointment of counsel, an appropriate
 motion must be filed in the district court. Where this is the case, it may be appropriate to
 file a motion seeking to extend the time for filing the motion to appoint or withdraw
 under the court's Criminal Justice Act plan.

 You are required to file a docketing statement within 14 days of filing the notice of
 appeal. If you have not yet filed that pleading, you should do so within 14 days of the
 date of this letter. Please note that under 10th Cir. R. 3.4(B), the appellant is not limited
 to the issues identified in his docketing statement and may raise other appropriate issues
 in the opening brief. The court's docketing statement form was updated on January 1,
 2019; please make sure you use the current form. It may be found at
 http://www.ca10.uscourts.gov/clerk/forms.

 In addition to the docketing statement, all transcripts must be ordered within 14 days of
 the date of this letter. If no transcript is necessary, you must file a statement to that effect.

 As appointed counsel, you are required to file a designation of record with the district
 court. You must also file a copy with this court. Under 10th Cir. R. 10.3(A)(1), that
 designation must be filed within 14 days of filing the notice of appeal. If you have not
 done so already, you should file the designation immediately.

 In addition, and also within 14 days of filing the notice of appeal, all appointed counsel
 must file either a motion to continue the CJA appointment or a motion to withdraw. See
 10th Cir. R. 46.3(B). Any motion to withdraw must comply with 10th Cir. R. 46.4(A).

 Under 10th Cir. R. 10.3(A)(2), the government may file an additional designation within
 14 days after service of appellant's designation. Once that time passes, the district court
 will complete assembly of the record. The district court clerk will transmit the record to
 this court and will notify the parties. See Fed. R. App. P. 11(b)(2); 10th Cir. R. 11.2(A).

 The opening brief is due forty days after the appellate record is filed. See Fed. R. App. P.
 31(a)(1); see also 10th Cir. R. 31.1(A).

 Briefs must satisfy all requirements of the Federal Rules of Appellate Procedure and
 Tenth Circuit Rules with respect to form and content. See specifically Fed. R. App. P. 28
 and 32 and 10th Cir. R. 28.1, 28.2 and 32, as well as 31.3 when applicable. As applicable,
 we encourage all counsel to be familiar with 10th Cir. R. 46.4(B). Seven hard copies of
 briefs must be provided to the court within five business days of the court issuing notice
 that the electronic brief has been accepted for filing. See 10th Cir. R. 31.5 and the court's
 CM/ECF User's Manual. Counsel are encouraged to utilize the court's Briefing &
 Appendix checklist when compiling their briefs.
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 Motions for extension of time to file briefs must comply with 10th Cir. R. 27.1 and 27.6.
 These motions are not favored.

 Thank you very much for your service to the court in your role as appointed counsel. If
 you are unfamiliar with the court's procedures or have questions, please call this office. In
 addition, you might also call the Appellate Division, created by the court to handle
 appeals circuit-wide, of the Office of the Federal Public Defender in Denver. That
 number is 303-294-7002. One of the appellate assistants will be happy to help you.

 Please contact this office if you have questions.

                                             Sincerely,



                                             Christopher M. Wolpert
                                             Clerk of the Court



  cc:      Laura Beth Hurd
           Pegeen D Rhyne
  CMW/na
